
USCA1 Opinion

	










          June 7, 1995      UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 93-1558

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                 ERIC FLORES-RIVERA,
                                Defendant - Appellant.

                                 ____________________

                                     ERRATA SHEET

               The  opinion of  this  Court issueed  on  June 1,  1995,  is
          corrected as follows:

               On page 5, line 4 - change "by" to "be"

               On page 5, lines 24-25 - replace "intent to agree and intent
          to commit the  substantive offense."   Garc a, 983  F.2d at  1165
                                                 ______
          (citation omitted)" with  "an intent  to agree and  an intent  to
          effectuate the  commission of  the substantive offense."   United
                                                                     ______
          States v. Piper, 35 F.3d 611, 615 (1st Cir. 1994),  cert. denied,
          ______    _____                                     _____ ______
          115 S. Ct. 1118 (1995)"











































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 93-1558

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                 ERIC FLORES-RIVERA,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. P rez-Gim nez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Selya and Stahl, Circuit Judges.
                                            ______________

                                _____________________

               Robert G. Levitt for appellant.
               ________________
               David S.  Kris, Attorney,  U.S. Department of  Justice, with
               ______________
          whom Guillermo  Gil, United States Attorney,  and Salixto Medina-
               ______________                               _______________
          Malav ,  Assistant  United States  Attorney,  were  on brief  for
          ______
          appellee.



                                 ____________________

                                     June 1, 1995
                                 ____________________


















                    TORRUELLA, Chief  Judge.  On April  11, 1991, defendant
                    TORRUELLA, Chief  Judge.
                               ____________

          Eric Flores-Rivera ("Flores-Rivera"), along with  seventeen other

          persons not party  to this  appeal, was named  in a  thirty-four-

          count  superseding  indictment   charging  various   drug-related

          offenses.  On April  14, 1993, a jury convicted  Flores-Rivera on

          one  count of conspiracy to import cocaine and to possess cocaine

          with intent  to distribute it, in  violation of 21  U.S.C.    846

          and 963 (Count 2), and two counts of assaulting a federal officer

          with a deadly weapon, in violation  of 18 U.S.C.   111, (Counts 5

          and 6).  The jury acquitted Flores-Rivera on Counts 3, 4, and 34,

          which charged importation of  cocaine, possession of cocaine with

          intent  to distribute,  and  use of  a communication  facility to

          commit a drug crime, in violation of 21 U.S.C.    952, 841(a)(1),

          and 843(b),  respectively.  The district  court sentenced Flores-

          Rivera to 324 months' imprisonment, to be followed by a five-year

          term  of supervised release.  Flores-Rivera now appeals.  For the

          following reasons, we affirm.

                                    I.  BACKGROUND
                                    I.  BACKGROUND

                    We  recite the facts in the light most favorable to the

          government.  United States  v. Echeverri, 982 F.2d 675,  676 (1st
                       _____________     _________

          Cir. 1993).  The focus of  this case was a large drug trafficking

          conspiracy.   The  conspirators, headed  by co-defendant  Eusebio

          Escobar-de Jes s ("Escobar"), worked with members of the Medell n

          and Cali drug cartels to import cocaine from Colombia into Puerto

          Rico and New York.




                                         -2-














                    The linchpin witness for  the government's case against

          Flores-Rivera  was  William  Cedr s  ("Cedr s"),  a  confidential

          informant.   Cedr s testified that he  infiltrated the conspiracy

          and gained the confidence of Escobar.  In 1990, Cedr s became the

          "number  two man"  in Escobar's  organization.   Cedr s testified

          that  Escobar informed him that Flores-Rivera was a member of the

          organization.   Cedr s  also  testified  that  Flores-Rivera  had

          accompanied him to the island of  Vieques to look for sites where

          an airplane could land or drop-off kilogram quantities of cocaine

          in  the  future.   Cedr s  indicated that  the  conspirators were

          planning  to use  the  new sites  to  import approximately  1,500

          kilograms  of cocaine.   The  Medell n cartel  was to  supply the

          cocaine, and the importation  was to be divided into four or five

          shipments.

                    Cedr s  also  testified  that  Escobar  had  instructed

          Flores-Rivera to supervise the importation of between 300 and 500

          kilograms  of  cocaine from  Colombia.    Flores-Rivera was  tape

          recorded  discussing  the  importation  plans  with   Cedr s  and

          Escobar.    The tape  recording,  along  with Cedr s'  testimony,

          indicate that Flores-Rivera was to  travel to Colombia and return

          in a boat loaded with cocaine to one of Escobar's properties.

                    The  government  also  presented  evidence  of  Flores-

          Rivera's involvement  in  the April  1986  shooting of  two  U.S.

          Customs  agents.  Two witnesses testified that on April 14, 1986,

          they saw Flores-Rivera arrive at the Isla Grande Flying School in

          a yellow, flatbed  tanker-truck and purchase over 100  gallons of


                                         -3-














          aviation fuel.  Two U.S. Customs agents followed Flores-Rivera as

          he  drove the  tanker-truck  from the  flying  school to  a  farm

          housing a covert landing strip used by the  Escobar organization.

          From their surveillance post outside the farm, the Customs agents

          observed Flores-Rivera and codefendant Andr s  Morales-Cruz enter

          the  farm.   Later  that night,  the Customs  agents saw  a small

          airplane  land  at the  farm.   Shortly  thereafter,  the Customs

          agents witnessed an  unidentified man clad in army  fatigues exit

          the farm in a white van.   The Customs agents followed.  When the

          van got to a small curve in the road,  it stopped as if to make a

          U-turn.    As the  Customs agents  tried to  drive by,  the van's

          occupants  opened fire  on them,  severely injuring  both agents.

          The agents were never able to identify the attackers.

                                   II.  DISCUSSION
                                   II.  DISCUSSION

                    A.  Sufficiency of the Evidence
                    A.  Sufficiency of the Evidence
                        ___________________________

                    Flores-Rivera   contends   that   the    evidence   was

          insufficient  to  support  his  convictions  for  conspiracy  and

          assault on a federal officer.

                    The  standard of  review governing  a challenge  to the

          sufficiency of  the evidence is  well established.   An appellate

          court must  determine whether a  rational jury  could find  guilt

          beyond a reasonable doubt.   Echeverri, 982 F.2d at 677;   United
                                       _________                     ______

          States  v. Garc a, 983  F.2d 1160, 1163-64  (1st Cir. 1993).   In
          ______     ______

          making this  determination, the reviewing court  must examine the

          evidence,  together with  all inferences  that may  be reasonably

          drawn  from it, in the  light most favorable  to the prosecution.


                                         -4-














          Echeverri,  982 F.2d  at 677.   Furthermore, the  reviewing court
          _________

          does  not   evaluate  witness   credibility,  but   resolves  all

          credibility issues in favor of the verdict.   Garc a, 983 F.2d at
                                                        ______

          1164  (quoting United States v.  Batista-Polanco, 927 F.2d 14, 17
                         _____________     _______________

          (1st Cir. 1991)).  "The evidence may  be entirely circumstantial,

          and need  not exclude  every reasonable hypothesis  of innocence;

          that   is,   the   factfinder   may   decide   among   reasonable

          interpretations of  the evidence."  Batista-Polanco,  927 F.2d at
                                              _______________

          17.  Nevertheless, "[i]f  the 'evidence viewed in the  light most

          favorable   to  the   verdict   gives  equal   or  nearly   equal

          circumstantial  support  to a  theory of  guilt  and a  theory of

          innocence  of the  crime  charged,' this  court must  reverse the

          conviction.  This  is so because .  . . where an  equal or nearly

          equal theory of guilt and  a theory of innocence is supported  by

          the  evidence  viewed  in   the  light  most  favorable  to   the

          prosecution,  'a reasonable  jury  must  necessarily entertain  a
                                             ___________________________

          reasonable doubt.'"   United  States v. S nchez,  961 F.2d  1169,
                                ______________    _______

          1173 (5th Cir.) (citations omitted), cert. denied, 113 S. Ct. 330
                                               ____________

          (1992).   With the scope of  our review thus defined,  we move to

          the appellants' claims.

                      1.  Conspiracy
                      1.  Conspiracy

                    To establish a  conspiracy conviction, the  prosecution

          must prove, inter alia, that  the defendant entered an  agreement
                      _____ ____

          to commit the substantive  offense, and that the defendant  was a

          voluntary participant in the conspiracy.   Echeverri, 982 F.2d at
                                                     _________

          679.   The  government must  prove  that the  defendant possessed


                                         -5-














          both  "an intent  to  agree  and  an  intent  to  effectuate  the

          commission of the substantive offense."   United States v. Piper,
                                                    ______ ______    _____

          35 F.3d 611,  615 (1st Cir. 1994), cert. denied,  115 S. Ct. 1118
                                             _____ ______

          (1995).  However,  "[d]ue to the  clandestine nature of  criminal

          conspiracies, the  law recognizes that the  illegal agreement may

          be either 'express or tacit' and that a '"common purpose and plan

          may   be  inferred   from  a   development  and   collocation  of

          circumstance."'"   United States  v. S nchez, 917  F.2d 607,  610
                             _____________     _______

          (1st Cir. 1990)(citations omitted), cert. denied, 111 S. Ct. 1625
                                              ____________

          (1991).  "Mere presence  at the scene and close  association with

          those involved are insufficient factors alone; nevertheless, they

          are relevant factors for  the jury."   S nchez, 961 F.2d at  1174
              ________                           _______

          (5th Cir.) (citation omitted).

                    Although  he  does not  dispute  the  existence of  the

          Escobar drug-trafficking conspiracy, Flores-Rivera maintains that

          the evidence fails to establish that he was a member.  Given that

          we resolve any  credibility issues  in favor of  the verdict,  we

          find  that Flores-Rivera's  sufficiency-of-the-evidence challenge

          fails  because   the  record  contains  ample   support  for  his

          conspiracy  conviction.    A  reasonable jury  could  infer  from

          Cedr s' testimony  that Flores-Rivera was deeply  involved in the

          entire  operation.   Cedr s  testified that  Flores-Rivera was  a

          member  of   the  Escobar  conspiracy,  and   that  Flores-Rivera

          accompanied  him to  Vieques  to search  for appropriate  landing

          sites for drug drop-offs.  Moreover, the evidence against Flores-

          Rivera  includes a  tape-recorded  conversation in  which Flores-


                                         -6-














          Rivera discusses importation plans with Escobar and Cedr s.   The

          tape recording also indicates that  Flores-Rivera agreed to go to

          Colombia and  return in a boat  laden with cocaine.   In sum, the

          evidence demonstrates clearly and convincingly that Flores-Rivera

          was  a knowing and voluntary  participant in many  aspects of the

          Escobar drug conspiracy.










































                                         -7-














                      2.  Assault on a federal agent
                      2.  Assault on a federal agent

                    Under the well settled Pinkerton doctrine, members of a
                                           _________

          conspiracy  may  be  held   liable  for  the  substantive  crimes

          committed  by  co-conspirators,  provided  that  the  substantive

          crimes were committed in furtherance of the  conspiracy and while

          the  defendant was a member of  the conspiracy.  See Pinkerton v.
                                                           ___ _________

          United  States,  328 U.S.  640, 646-48  (1946); United  States v.
          ______________                                  ______________

          Torres-Maldonado, 14 F.3d  95, 101 (1st Cir.), cert.  denied, 115
          ________________                               _____________

          S.  Ct. 193 (1994).  Under Pinkerton, the government was required
                                     _________

          to prove  that the  April 14, 1986,  assault on the  U.S. Customs

          agents was carried out  by members of the Escobar  conspiracy, in

          furtherance  of the conspiracy, and at  a time when Flores-Rivera

          was still a member of the conspiracy.  United States v. Mu oz, 36
                                                 _____________    _____

          F.3d  1229, 1234 (1st  Cir. 1994), cert. denied,  115 S. Ct. 1164
                                             ____________

          (1995).   We  think  it met  this  burden.   The  jury heard  the

          following  facts:    On  April 14,  1986,  Flores-Rivera  brought

          airplane fuel to a  farm housing a covert landing  strip operated

          by the conspirators.   While the Customs  agents were surveilling

          the farm, a  plane landed at the farm and,  shortly thereafter, a

          man  clad in army  fatigues exited in  a white van.   The Customs

          agents followed the van.  The van stopped as if to make a U-turn,

          and  as the Customs agents drove by,  they were fired upon by the

          van's occupants.  In these circumstances, a reasonable jury could

          have  found that  the shooting  was committed  by members  of the

          conspiracy, in  furtherance of the conspiracy,  and while Flores-

          Rivera  was still a member of the conspiracy.  Therefore, we find


                                         -8-














          that there was sufficient evidence to convict Flores-Rivera under

          Pinkerton liability for assault on a federal officer.
          _________

                    Accordingly, we  reject both  of his challenges  to the

          sufficiency of the evidence.

                    B.  Separate Trials
                    B.  Separate Trials
                        _______________

                    Flores-Rivera   alleges   that   the   district   court

          erroneously denied his Rule 14 motion for severance.  See Fed. R.
                                                                ___

          Crim. P. 14.1  We disagree.

                    The First Circuit law regarding severance is clear:

                      As  a  rule,  persons  who  are  indicted
                      together should be  tried together.  This
                      practice    helps    both   to    prevent
                      inconsistent  verdicts  and  to  conserve
                      resources   (judicial and prosecutorial).
                      Thus,  when    multiple  defendants   are
                      named in a single indictment, a defendant
                      who seeks a separate trial can ordinarily
                      succeed  in obtaining one  only by making
                      a  strong  showing of  evident prejudice.
                      The hurdle is intentionally  high; recent
                      Supreme Court precedent instructs that "a
                      district court should  grant a  severance
                      under Rule 14 only  if there is a serious
                      risk that a joint trial  would compromise
                      a  specific  trial  right of  one  of the
                      defendants,  or  prevent  the  jury  from
                      making a reliable judgment about guilt or
                      innocence."

          United  States   v.  O'Bryant,   998  F.2d   21,  25   (1st  Cir.
          ______________       ________

          1993)(quoting Zafiro  v.  United  States,  113 S.  Ct.  933,  938
                        ______      ______________

          (1993))(internal citations omitted).


                              
          ____________________

          1  The rule authorizing motions for severance states in pertinent
          part:  "If it appears that  a defendant . . . is prejudiced  by a
          joinder . . . of  defendants . . . for trial together,  the court
          may  . . . grant  a severance of  defendants, or provide whatever
          other relief justice requires."  Fed. R. Crim. P. 14.

                                         -9-














                    The decision to grant or deny a motion for severance is

          committed to the sound  discretion of the trial court and we will

          reverse  its refusal  to sever  only upon  a finding  of manifest

          abuse of discretion.  Zafiro, 113 S. Ct. at 938; United States v.
                                ______                     _____________

          Olivo-Infante, 938 F.2d 1406, 1409 (1st Cir. 1991); United States
          _____________                                       _____________

          v. Natanel, 938 F.2d 302, 308 (1st Cir. 1991),  cert. denied, 112
             _______                                      ____________

          S. Ct. 986 (1992); Boylan, 898 F.2d 230, 246 (1st Cir. 1990).
                             ______

                    Essentially, Flores-Rivera contends that  severance was

          required because of the "spillover" effect of prosecuting him, an

          alleged  minor participant,  alongside  the  major  conspirators.

          That  is, Flores-Rivera  claims that  the joint  trial "seriously

          limited  the jury's  ability  to sift  through  all the  evidence

          against each individual defendant and increased the risk that the

          jury would base its verdicts on evidence which  has no bearing on

          the  guilt  or  innocence  of  defendants  with  a  more  limited

          involvement  in the scheme."   United States v.  Brandon, 17 F.3d
                                         _____________     _______

          409,  440 (1st Cir.), cert. denied, Granoff v. United States, 115
                                ____________  _______    _____________

          S. Ct. 80  (1994).  In support of this  contention, he points out

          that he  was named in  less than  ten percent of  the of  all the

          overt acts charged in the indictment and that his alleged role in

          the  conspiracy   was  significantly   less  than  that   of  his

          codefendants.  These facts, without more, do not render severance

          mandatory.  We rejected this argument in O'Bryant, stating:
                                                   ________

                      To  be  sure,  there  is  some  truth  to
                      appellant's   complaint  that   a  minnow
                      (O'Bryant)  and a  kingfish (Puleo) stood
                      trial together.  It is also true that the
                      prosecution  drew  a  bead  on  Puleo and
                      aimed  most  of  its  ammunition  in  his

                                         -10-














                      direction.    But, these  truths, without
                      more,  did  not  necessitate  a  separate
                      trial for  O'Bryant.  It is  well settled
                      that,  "[e]ven  where  large  amounts  of
                      testimony   are      irrelevant  to   one
                      defendant,   or  where   one  defendant's
                      involvement in an  overall  agreement  is
                      far less than the involvement of others,"
                      the  court of appeals  must be "reluctant
                      to second guess severance denials."  Such
                      reluctance is fully justified here.

          O'Bryant,  998  F.2d  at 26  (quoting  Boylan,  898  F.2d at  246
          ________                               ______

          (collecting cases)).

                    Moreover,  we  have held  that  "'[i]n  the context  of

          conspiracy,  severance  will  rarely,  if  ever,  be  required.'"

          Brandon,  17 F.3d at 440  (quoting United States  v. Searing, 984
          _______                            _____________     _______

          F.2d 960, 965  (8th  Cir. 1993)); see also  O'Bryant, 998 F.2d at
                                            ________  ________

          24-26.    To convict  any of  the  defendants under  a conspiracy

          theory,  the government had to  show the existence  of an illicit

          scheme  to import  and  distribute cocaine;  and because  Flores-

          Rivera  and  his  codefendants were  charged  as  coconspirators,

          virtually all the evidence relating to the other conspirators was

          also   directly  relevant   to,  and,   therefore,  independently

          admissible in, the prosecution's case against him.  See O'Bryant,
                                                              ___ ________

          998  F.2d at  26 (citing United  States v.  Riehl, 460  F.2d 454,
                                   ______________     _____

          457-58 (3d Cir. 1972)).  And  as we have held, "[w]here  evidence

          featuring  one defendant  is independently  admissible against  a

          codefendant,  the  latter  cannot  convincingly  complain  of  an

          improper   spillover   effect."      Id.   (collecting   cases).2
                                               ___
                              
          ____________________

          2   We also note that the  jury acquitted Flores-Rivera on Counts
          3, 4, and 34, which charged importation of cocaine, possession of
          cocaine with  intent to  distribute, and  use of a  communication

                                         -11-














          Accordingly,  we find that the  district court did  not abuse its

          discretion  in  refusing  to  grant  Flores-Rivera's  motion  for

          severance.

                    C.  Jury Selection
                    C.  Jury Selection
                        ______________

                    Defendant asserts two claims regarding  jury selection.

          First,  he contends  that the  "English only" requirement  of the

          jury  selection system  violates  his Fifth  and Sixth  Amendment

          rights  because   it  effectively  excludes  two-thirds   of  the

          population of Puerto Rico.3   This argument is foreclosed  by our

          decision in United States v. Aponte-Su rez, in which we held that
                      _____________    _____________

          even if the English-only requirement "[results] in a smaller pool

          of  eligible jurors  and  a 'systematic  exclusion'  in the  jury

          selection process, the  overwhelming national interest  served by

          the  use of English in a United States court justifies conducting

          proceedings  in the  District  of  Puerto  Rico  in  English  and

          requiring  jurors to be proficient  in that language."   905 F.2d

          483,  492 (1st Cir.)(citing  United States v.  Benmuhar, 658 F.2d
                                       _____________     ________

          14,  19 (1st  Cir. 1981),  cert. denied,  457 U.S.  1117 (1982)),
                                     ____________



                              
          ____________________

          facility to commit a drug crime.  This suggests that the jury was
          able  to sift through the  evidence in an  analytical fashion and
          that the alleged spillover  effect did not cause the  jury merely
          to enter a  lump conviction against Flores-Rivera.   See Brandon,
                                                               ___ _______
          17  F.3d at 440  (finding acquittals to  be a relevant  factor in
          upholding  a district  court's denial of  a severance)(collecting
          cases).

          3  Federal law requires that all grand and petit  jurors have the
          ability  to speak English and read,  write and understand English
          with proficiency sufficient to  fill out satisfactorily the juror
          qualification form.  28 U.S.C.   1865(b)(2) &amp; (3).

                                         -12-














          cert. denied, 498 U.S.  990 (1990).  Accordingly, we  reject this
          ____________

          contention.

                    Second, Flores-Rivera maintains that the district court

          did not  adequately inquire  whether the  jurors could speak  and

          understand English as required  by 28 U.S.C.   1865(b)(2)  &amp; (3),

          and that "[p]resumably, there were many . . . jurors who actually

          sat on  this case  who may  not have comprehended  English."   We

          disagree.

                    28 U.S.C.    1865(b) requires that  jurors be dismissed

          if  they cannot demonstrate a minimum proficiency in English.  28

          U.S.C.   1867 sets forth the proper procedure for challenging the

          district  court's  compliance   with  selection  procedures,  and

          requires that the defendant  make an appropriate challenge within

          seven  days  "after  the   defendant  discovered  or  could  have

          discovered,  by the   exercise  of diligence,  . .  . substantial

          failure  to comply with the provisions of this title in selecting

          the  grand or petit jury."  Here, Flores-Rivera did not challenge

          the  English  proficiency  of  the empaneled  jurors  within  the

          prescribed time frame.  In similar cases, we have held that where

          the defendant failed  to raise a timely  objection, "later doubts

          as to a juror's linguistic competence will not constitute grounds

          for relief without a showing of 'manifest' or 'clear' injustice."

          United States v. Nickens, 955 F.2d 112, 117 (1st Cir.)(collecting
          _____________    _______

          cases), cert. denied, 113  S. Ct. 108 (1992).   Flores-Rivera has
                  ____________

          shown  no such  injustice.   In  fact,  his bald  assertion  that

          "presumably, there  were many .  . . jurors  who actually sat  on


                                         -13-














          this case who may not have comprehended English" is unaccompanied

          by any support whatsoever.   Accordingly, we reject his challenge

          to the empaneled jury, not only because it was untimely, but also

          because it is devoid of factual support.4

                    D.  Double Jeopardy
                    D.  Double Jeopardy
                        _______________

                    Flores-Rivera   maintains   that  his   conviction  for

          conspiracy to import cocaine  and to possess cocaine  with intent

          to  distribute cannot stand  because it is  inconsistent with his

          acquittal  on the  substantive crimes  charged in  the indictment

          (importation  of cocaine,  possession of  cocaine with  intent to

          distribute, and use of a  telephone to facilitate the importation

          of  cocaine).5  We have addressed similar claims before and found
                              
          ____________________

          4   Flores-Rivera further contends  that it was  improper for the
          district court to conduct a portion of its  voir dire in Spanish,
          and that this constitutes  reversible error.  Flores-Rivera fails
          to identify  any statute or  caselaw requiring that  the district
          courts conduct voir dire  entirely in English.  Moreover,  he has
          not explained how he  was prejudiced by the bilingual  voir dire,
          especially  in light  of  the fact  that  he requested  that  the
                                                       _________
          district court perform  its voir dire in Spanish.   Consequently,
          we deem this argument waived.  See United States v. Zannino,  895
                                         ___ _____________    _______
          F.2d 1, 17 (1st Cir.)(discussing "the settled appellate rule that
          issues adverted to in a perfunctory manner, unaccompanied by some
          effort  at developed argumentation, are deemed waived)(collecting
          cases), cert. denied, 494 U.S. 1082 (1990).
                  ____________

          5     Flores-Rivera  also   maintains  that  the   indictment  is
          multiplicitous  and violates  the Double  Jeopardy Clause  of the
          United States Constitution because the substantive crimes charged
          in Counts 3,  4 and 34 are "in fact and  in law" identical to the
          overt acts  alleged under  the conspiracy  Count.   This argument
          falls short for two  reasons.  First, the Double  Jeopardy Clause
          is not implicated here because Flores-Rivera was acquitted of the
          substantive crimes  charged in the indictment,  and therefore the
          sentencing court did not impose multiple punishments for the same
          offense.   See Jones v.  Thomas, 491 U.S.  376, 381 (1989)(noting
                     ___ _____     ______
          that  the  Double  Jeopardy  Clause  affords  protection  against
          multiple punishments  for the  same offense imposed  in a  single
          proceeding.); Missouri v. Hunter, 459 U.S. 359, 366 (1983)(noting
                        ________    ______

                                         -14-














          them unavailing.   See,  e.g., United States  v. Gonz les-Torres,
                             ___   ____  _____________     _______________

          980 F.2d 788 (1st  Cir. 1992); United States  v. L pez, 944  F.2d
                                         _____________     _____

          33, 41 (1st Cir. 1991).   "It is well settled that  inconsistency

          in a  criminal  verdict  does not  require  setting  the  verdict

          aside."6 Gonz les-Torres, 980 F.2d at 791 (citing  Dunn v. United
                   _______________                           ____    ______

          States, 284 U.S. 390, 393-94 (1932); United States v. Powell, 469
          ______                               _____________    ______

          U.S. 57, 69 (1984); United States v. Bucuvalas, 909 F.2d 593 (1st
                              _____________    _________

          Cir.1990)).  As we explained in L pez:
                                          _____

                      Although it may seem inconsistent in this
                      case to convict on the conspiracy charge,
                      and  acquit the  same  defendant  on  the
                      substantive charge alleged  to have  been
                      the object of the conspiracy, the Supreme
                      Court  has made  it  clear  that  verdict
                      inconsistency   in   itself   is  not   a
                      sufficient    basis   for    vacating   a
                      conviction.


                              
          ____________________

          that  "the Double Jeopardy Clause  does no more  than prevent the
          sentencing court  from   prescribing greater punishment  than the
          legislature intended").

             Second, the  fact that Flores-Rivera's indictment charges both
          conspiracy and the substantive  crimes involved in the conspiracy
          fails to implicate the Double Jeopardy Clause because it has long
          been  the rule  that "a  substantive crime,  and a  conspiracy to
          commit that crime, are not the 'same offense' for double jeopardy
          purposes."    United  States v.  F lix,  112  S.  Ct. 1377,  1384
                        ______________     _____
          (1992)(citing  United   States  v.  Bayer,  331   U.S.  532,  542
                         _______________      _____
          (1947)(noting  that "the same overt acts  charged in a conspiracy
          count may also be charged and proved as substantive offenses, for
          the agreement to do  the act is distinct from the  act itself"));
          see also Pinkerton,  328 U.S.  at 643 ("[T]he  commission of  the
          ________ _________
          substantive  offense and a  conspiracy to commit  it are separate
          and distinct offenses . . . [a]nd the plea of  double jeopardy is
          no defense to a conviction for both offenses.").

          6   Even so,  the verdicts  are not  inconsistent.   As explained
          above,  the substantive crime and the conspiracy to commit it are
          separate  offenses.  Callanan v. United States, 364 U.S. 587, 593
                               ________    _____________
          (1961).

                                         -15-














                        Verdict inconsistency does not indicate
                      that the government necessarily failed to
                      prove  an essential  element of  its case
                      beyond  a  reasonable doubt.    We cannot
                      necessarily assume that the acquittal was
                      proper  --  the  one  the   jury  "really
                      meant."  It is equally possible  that the
                      jury,   convinced   of  guilt,   properly
                      reached  its  conclusion on  one offense,
                      and then through mistake,  compromise, or
                      lenity,   arrived   at  an   inconsistent
                      conclusion on the other offense.  As long
                      as  the  trial and  appellate  courts are
                      convinced  on   independent  review  that
                      there was sufficient evidence  to sustain
                      a  rational verdict  of  guilt  beyond  a
                      reasonable   doubt,   the  defendant   is
                      properly  protected  against any  risk of
                      injustice     resulting     from    "jury
                      irrationality."

          L pez, 944 F.2d at  41 (discussing Powell, 469  U.S. 57)(internal
          _____                              ______

          quotations omitted).  Accordingly,  because we found that Flores-

          Rivera's  conspiracy   conviction  is  supported   by  sufficient

          evidence, it must stand.

                    E.  Prosecutorial Misconduct
                    E.  Prosecutorial Misconduct
                        ________________________

                    Flores-Rivera  claims that  Agent  Tejada's grand  jury

          testimony was  replete with  perjury, that the  government either

          cooperated  with Agent Tejada or was negligent in allowing him to

          testify falsely,  that this prosecutorial misconduct  rose to the

          level  of  a  due process  violation,  and  that, therefore,  the

          various indictments against him must be dismissed.  Specifically,

          Flores-Rivera claims that Agent Tejada misled the grand jury when

          he testified (1) that the government's informant, William Cedr s,

          was a businessman, (2)  that Cedr s had been arrested  only once,

          and  (3)  that  Cedr s   had  infiltrated  the  defendant's  drug

          organization  rather than  being  recruited  by authorities  from

                                         -16-














          within the organization and then "flipping" pursuant to a  formal

          cooperation agreement  with the prosecution.   The district court

          addressed these issues before trial and found them meritless.  In

          particular, the district court found (1) that Cedr s was indeed a

          businessman,  (2) that at  the time of  Agent Tejada's testimony,

          there was only one arrest listed in Cedr s' criminal history, and

          (3) that no evidence substantiated the allegation that Cedr s had

          "flipped" pursuant to a formal cooperation agreement.

                    In Bank of Nova  Scotia v. United States, 487  U.S. 250
                       ____________________    _____________

          (1988),   the   Court  provided   the  applicable   standard  for

          determining when  errors before the grand  jury warrant dismissal

          of an indictment:   "[A]s a general matter,  a district court may

          not dismiss an  indictment for errors  in grand jury  proceedings

          unless such errors prejudiced  the defendants."  Id. at  254; see
                                                           __           ___

          also  United States v. Latorre, 922 F.2d 1, 6-7 (1st Cir.), cert.
          ____  _____________    _______                              _____

          denied, 502 U.S. 876 (1991).  As we explained in United States v.
          ______                                           _____________

          Valencia-Lucena, 925 F.2d 506, 511 (1st Cir. 1991), errors before
          _______________

          the  grand jury will often  be deemed harmless  if the defendants

          were  subsequently and  properly  convicted before  an  impartial

          petit jury:

                      [T]he  fact  that  the   defendants  were
                      convicted by a petit  jury acts as a cure
                      for  any  error which  may  have resulted
                      during  grand  jury   proceedings.     An
                      indictment   returned    by   a   legally
                      constituted and unbiased  grand jury,  if
                      valid on its face,  is enough to call for
                      trial  of the  charge on  its merits.   A
                      court   should   not  inquire   into  the
                      sufficiency  of  the evidence  before the
                      indicting grand jury,  because the  grand
                      jury proceeding is  merely a  preliminary

                                         -17-














                      phase and  all constitutional protections
                      are afforded at trial.  Once a  defendant
                      has been  convicted by a petit  jury, the
                      petit jury's verdict  of guilty beyond  a
                      reasonable doubt  demonstrates a fortiori
                      that  there was probable  cause to charge
                      the  defendants  with  the  offenses  for
                      which  they  were  convicted.    At  that
                      point,   our  review   is  limited     to
                      determining if the district  court abused
                      its discretion in  failing to dismiss the
                      indictments.

          Valencia-Lucena,  925  F.2d  at  511  (internal   quotations  and
          _______________

          citations omitted); cf.  United States v.  Osorio, 929 F.2d  753,
                              ___  _____________     ______

          763 (1st Cir. 1991).  Here, Flores-Rivera  was properly convicted

          by a petit jury after he and his codefendants were afforded ample

          opportunity to cross-examine Cedr s  at trial.  Moreover, Flores-

          Rivera has not  demonstrated that the alleged misconduct  in fact

          occurred,  much  less  that  it was  prejudicial  or  outrageous.

          Accordingly, we find that  Flores-Rivera's proper conviction by a

          petit jury cures any alleged error before the grand jury.7
                              
          ____________________

          7    Nevertheless,  we  repeat  our  prior  admonishment  against
          government misconduct, this time  in the context of prosecutorial
          misconduct before the grand jury:

                      Before  departing  from these  shores, we
                      pause to add a qualification:  the use of
                      supervisory    power   to    dismiss   an
                      indictment, in the  absence of injury  to
                      the defendant, may not be entirely a dead
                      letter.  The [Supreme]  Court's reasoning
                      in   [United  States v.  Hasting] may  be
                            ______________     _______
                      read to  leave open the  possibility that
                      the goal of  deterring future  misconduct
                      would justify using the supervisory power
                      to    redress   conduct    not   injuring
                      defendants  if  the  conduct  is  plainly
                      improper,  indisputably   outrageous, and
                      not  redressable through  the utilization
                      of less drastic disciplinary tools.


                                         -18-














                    F.  Evidentiary matters
                    F.  Evidentiary matters
                        ___________________

                    Flores-Rivera maintains  that his  trial was  marred by

          four  evidentiary  errors, and  that each  constitutes reversible

          error.  We address his contentions in turn.









































                              
          ____________________

          United States v.  Santana, 6  F.3d 1, 11  (1st Cir.  1993)(citing
          _____________     _______
          Hasting, 461 U.S. 499, 506 (1983)).
          _______

                                         -19-














                      1.  "Other crimes" evidence:
                      1.  "Other crimes" evidence:

                    Flores-Rivera's  first  contends  that  the  prosecutor

          improperly elicited inadmissible evidence of  "other crimes" from

          informant Cedr s.  Cedr s  did allude to the fact  that defendant

          Escobar  had  spent  time  in   prison.    Counsel  for   Escobar

          immediately  objected  and demanded  a  mistrial.   Flores-Rivera

          joined  in this motion.  The court denied the defendants' motions

          for mistrial,  issued curative  instructions, and  admonished the

          government  to  keep  its  questions simple  to  avoid  eliciting

          further  improper  testimony.    Flores-Rivera insists  that  the

          curative instructions were insufficient  and that the court erred

          in not granting a mistrial.  We disagree.

                    Generally, "we  will presume  that juries can  and will

          follow   instructions   to   disregard    inadmissible   evidence

          inadvertently  presented."   United States v. Mart nez, 922  F.2d
                                       _____________    ________

          914 (1st Cir. 1991) (citing United States v. Paiva, 892 F.2d 148,
                                      _____________    _____

          160 (1st  Cir. 1989)).   Here, the risk  of prejudice  to Flores-

          Rivera  was  slim  because  Cedr s alluded  only  to  codefendant

          Escobar's prison time; Cedr s did not indicate that Flores-Rivera

          had also served prison time.  Moreover, the district court issued

          a  timely and  forceful  curative instruction,  to which  neither












                                         -20-














          Flores-Rivera nor Escobar objected.8   Accordingly, we affirm the

          district court's refusal to grant a mistrial.

                      2.  Pre-conspiracy evidence:
                      2.  Pre-conspiracy evidence:

                    Flores-Rivera  also  contends that  the  district court

          erred  in   admitting  evidence  that  drugs   were  imported  by

          codefendants Escobar  and Santos-Caraballo in March  of 1986, one

          month  before the  start of  the conspiracy  alleged in  Count 2.

          Flores-Rivera notes  correctly that  the evidence  was admissible

          against  his codefendants, but not  against him.   He argues that

          the  court's  instruction to  this  effect  was insufficient  and

          confusing.   This contention has little merit and can be disposed

          of quickly.

                    To prevent  prejudice  to  the  other  defendants,  the

          district court  issued an  extensive limiting instruction  to the

          jury, which included the admonishment:
                              
          ____________________

          8  The curative instruction states, in pertinent part:

                      . . . I  have stricken the last statement
                      made  by Mr. Cedres. . . . You are not to
                      consider   it   at   all    during   your
                      deliberation.

                        [T]he defendants are not on trial today
                      except  for  whatever is  charged  in the
                      indictment.  And  you're not to consider,
                      when  deciding the  issues of  this case,
                      matters  that are outside what is charged
                      in the indictment.

                        And I'm admonishing  the government  to
                      keep its  questions simple  . . .  so the
                      witness   maintains    his   answer   and
                      testimony  within  the  confines  of  the
                      questions .  . . so  as not  to bring  in
                      facts  which  are  not  alleged   in  the
                      indictment.

                                         -21-














                      [T]his evidence will  only be  considered
                      by   you   in  reference   to  defendants
                      [Escobar]  and [Santos-Caraballo].   This
                      evidence   only  relates  to  them.    It
                      doesn't  relate  at  all   whatsoever  to
                      Michael Cruz- Gonz lez,  to Eric  Flores-
                      Rivera or to  Andr s Morales-Cruz.   They
                      are  not involved  in  that.   So if  you
                      consider this evidence, it  pertains only
                      to those two defendants.

          This instruction clearly instructed  the jury that it was  not to

          consider  the  pre-conspiracy  evidence   against  Flores-Rivera.

          Accordingly,   we  reject  Flores-Rivera's  contention  that  the

          admission of this evidence constituted reversible error. 

                      3.  Statements of co-conspirators:
                      3.  Statements of co-conspirators:

                    Flores-Rivera  also  contends that  the  district court

          misapplied the  co-conspirator exclusion to the  hearsay rule and

          thus clearly  erred when it admitted  the out-of-court statements

          of codefendant  Escobar.   Federal Rule of  Evidence 801(d)(2)(E)

          excludes from the operation of the hearsay rule "a statement by a

          coconspirator  of a party during the course and in furtherance of

          the  conspiracy."   Fed. R. Evid. 801(d)(2)(E).   "To  invoke the

          exception, a party who wants to introduce  a particular statement

          must  show by a preponderance  of the evidence  that a conspiracy

          embracing both the declarant and the  defendant existed, and that

          the  declarant uttered the statement during and in furtherance of

          the  conspiracy."  United States v. Sep lveda, 15 F.3d 1161, 1180
                             _____________    _________

          (1st  Cir.)(citing  Bourjaily v.  United  States,  483 U.S.  171,
                              _________     ______________

          175-76 (1987); Ortiz, 966  F.2d at 714-15), cert. denied,  114 S.
                         _____                        ____________

          Ct. 2714 (1994).



                                         -22-














                    Here, the informant, Cedr s, testified that Escobar had

          told  him  that  Flores-Rivera  was a  member  of  the  narcotics

          conspiracy.    Flores-Rivera  contends  that this  statement  was

          improperly admitted under the co-conspirator exclusion because it

          was not  made in furtherance of the conspiracy.  We disagree.  As

          we have often explained, a damaging statement is admissible under

          801(d)(2)(E)  if  it  "tends  to  advance   the  objects  of  the

          conspiracy  as opposed to thwarting its  purpose."  United States
                                                              _____________

          v.  Fahey, 769  F.2d 829, 839  (1st Cir.  1985); see  also United
              _____                                        _________ ______

          States v. Masse, 816 F.2d 805, 811 (1st Cir 1987).   The evidence
          ______    _____

          shows that Escobar intended to make Cedr s "the number two man in

          his organization."  Clearly, such a person would need to know the

          identities of the  players in the organization, and statements to

          this end are  certainly in  furtherance of the  conspiracy.   Cf.
                                                                        ___

          Sep lveda,  15 F.3d  at  1180  (explaining  that  "it  is  common
          _________

          ground--and  common sense--that  the  reporting   of  significant

          events   by   one   coconspirator   to   another   advances   the

          conspiracy")(citing  United States  v. Smith,  833 F.2d  213, 219
                               _____________     _____

          (10th  Cir. 1987)).  Accordingly, we find that the district court

          did  not clearly  err in  admitting the  statement under  the co-

          conspirator exclusion to the hearsay rule.

                      4.  Identification testimony:
                      4.  Identification testimony:

                    Lastly,  Flores-Rivera contends that  he was prejudiced

          by the  government's use  of photo  spreads  that were  allegedly

          impermissibly  suggestive.   Although  his brief  is unclear,  he

          appears  to argue that the  photo spreads shown  to two witnesses


                                         -23-














          were so  impermissibly suggestive  as to render  their subsequent

          in-court identifications unreliable and inadmissible.

                    The framework for our appellate review is well settled.

                      The   Supreme   Court,   in   Manson   v.
                                                    ______
                      Brathwaite, concluded that reliability is
                      __________
                      the    "linchpin"    in   deciding    the
                      admissibility      of      identification
                      testimony.  The Court  directed attention
                      to  the  factors  indicating  reliability
                      previously  set out  in Neil  v. Biggers,
                                              ____     _______
                      [including]   the  opportunity   for  the
                      witness to view the defendant at the time
                      of  the  crime, the  witness's  degree of
                      attention,  the accuracy  of   his  prior
                      description,   the  level   of  certainty
                      demonstrated at the   confrontation,  and
                      the  time  between   the  crime  and  the
                      confrontation.

          United  States v.  Fields,  871 F.2d  188, 195  (1st Cir.)(citing
          ______________     ______

          Manson v. Brathwaite, 432  U.S. 98, 114 (1977); Neil  v. Biggers,
          ______    __________                            ____     _______

          409 U.S. 188, 199-200 (1972)), cert. denied, 493 U.S. 955 (1989);
                                         ____________

          see also United States  v. Guzm n-Rivera, 990 F.2d 681,  683 (1st
          ________ _____________     _____________

          Cir. (1993).

                    Here, Flores-Rivera has not demonstrated  how the photo

          spreads  were impermissably suggestive,  except to aver generally

          that Flores-Rivera has different facial characteristics than  the

          other  persons featured in the display.  The district court judge

          rejected  this same  averment  at trial,  stating that  the photo

          spreads were among  the fairest he had  seen.  Moreover, even  if

          the  photo   spreads  had  been  impermissibly   suggestive,  the

          circumstances    indicate    that    the   subsequent    in-court

          identifications were reliable.




                                         -24-














                    Two  witnesses testified  that  they  had seen  Flores-

          Rivera purchase aviation fuel at the Isla Grande Flying School on

          April 14, 1986,  the  day  that  the Customs  agents  were  shot.

          Awilda Torres de Reyes, the owner of the flying school, testified

          that  Flores-Rivera had  arrived  in a  flatbed tanker-truck  and

          purchased over 100 gallons  of aviation fuel, an unusually  large

          amount.  She stated that it required between one and two hours to

          complete  the transaction, thus giving her ample time to view the

          defendant.  She  testified further that the  transaction stuck in

          her mind  because the defendant had purchased  an unusually large

          amount  of fuel,  and that  she suspected  that the  purchase was

          connected to a drug trafficking scheme because she knew that drug

          traffickers often  required large  quantities  of aviation  fuel.

          She indicated  that the  transaction became especially  memorable

          the  following day when she read that two U.S. Customs agents had

          been shot while investigating a narcotics  operation.  She called

          the  Customs office  and  informed  them  that  she  had  sold  a

          suspiciously large quantity of  aviation fuel on the same  day as

          the shooting, and that  she thought that the two  incidents might

          be connected.  The second witness who identified Flores-Rivera as

          the April  14  fuel-purchaser  was  Ra l Jim nez,  who  was  then

          working as a pilot for the Puerto Rico Department of Justice.  He

          testified that the incident  was memorable to him because  he was

          forced to wait for  over an hour while Flores-Rivera  was filling

          the tanks on the flatbed truck.  Mr.  Jim nez also indicated that

          he  contacted Customs agents after he heard rumors that a flatbed


                                         -25-














          tanker truck had  been involved  in the shooting  of two  Customs

          agents  on  the night  of the  fuel  purchase.   Accordingly, the

          circumstances indicate  that the attention of  both witnesses was

          sufficiently focused on  Flores-Rivera, both at  the time of  the

          viewing and shortly thereafter.

                    At trial, both witnesses evinced certainty that Flores-

          Rivera  was  in  fact the  April  14  fuel-purchaser.   The  only

          troubling factor  is that their in-court  identifications did not

          occur until  February 23,  1993, nearly  seven years  after their

          initial viewing at the flying school.  Nevertheless, we find that

          the  other reliability criteria  were sufficiently  persuasive to

          overcome any unreliability engendered by the delay.  Accordingly,

          the district court  did not err  in admitting the  identification

          evidence.

                    G.  Sentencing challenge
                    G.  Sentencing challenge
                        ____________________

                    Flores-Rivera   contends   that   the  district   court

          improperly determined his appropriate base offense level ("BOL").

          The district court determined Flores-Rivera's  BOL to be 40 after

          it  concluded that between 500 and 1500 kilograms of cocaine were

          attributable to  Flores-Rivera  for  sentencing  purposes.    See
                                                                        ___

          U.S.S.G.   2D1.1(c)(2).  Flores-Rivera contends that the evidence

          does not support this conclusion.

                    The  determinative  factor  for  sentencing  under  the

          guidelines  is the quantity of drugs.   United States v. Reyes, 3
                                                  _____________    _____

          F.3d 29,  31 (1st Cir.  1993).  That  quantity is the sum  of the

          charged  conduct  for  which  defendant  is  convicted  plus  his


                                         -26-














          "relevant" uncharged conduct.  United States v. Bradley, 917 F.2d
                                         _____________    _______

          601, 604  (1st Cir. 1990).   "The drug quantity is  to be derived

          from all  acts 'that were part  of the same course  of conduct or

          common scheme or  plan as  the offense of  conviction.'"   United
                                                                     ______

          States  v.  Garc a,  954  F.2d  12,  15 (1st  Cir.  1992)(quoting
          ______      ______

          U.S.S.G.   1B1.3  (a)(2)).   In the  case  of jointly  undertaken

          criminal  activity -- whether or  not charged as  a conspiracy --

          relevant conduct includes all  acts reasonably foreseeable by the

          defendant and committed in  furtherance of the jointly undertaken

          activity.   U.S.S.G.    1B1.3, comment.  (n.1); United  States v.
                                                          ______________

          Castellone, 985 F.2d 21, 24 (1st Cir.  1993); Garc a, 954 F.2d at
          __________                                    ______

          15.   To include disputed  transactions as relevant  conduct, the

          government  must  prove by  a   preponderance  of the  evidence a

          sufficient  nexus  between  the conduct  underlying  the disputed

          transaction and the offense  of conviction.  See Castellone,  985
                                                       ___ __________

          F.2d  at 24; United States v. Sklar,  920 F.2d 107, 110 (1st Cir.
                       _____________    _____

          1990).   We accord considerable deference to the district court's

          determination of whether  a given drug transaction  forms part of

          the  same course of conduct  as counts of  conviction and, absent

          mistake  of law,  will  set aside  its  finding only  if  clearly

          erroneous.  Castellone, 985 F.2d at 24; Garc a, 954 F.2d at 15.
                      __________                  ______

                    Here,   the  evidence  clearly  supports  the  district

          court's  conclusion  that  between  500 and  1,500  kilograms  of

          cocaine  were   attributable  to  Flores-Rivera   for  sentencing

          purposes.  Cedr s testified that Escobar ordered Flores-Rivera to

          supervise the  importation of  between 300 and  500 kilograms  of


                                         -27-














          cocaine from Colombia.  The district court could reasonably  have

          attributed   this  quantity   to  Flores-Rivera   for  sentencing

          purposes,  and  Flores-Rivera  concedes  as much.    Cedr s  also

          testified that the Escobar  Organization was conspiring to import

          approximately  1,500  kilograms  of  cocaine  from  Colombia  for

          distribution in New York,  and that Flores-Rivera had accompanied

          Cedr s  to look  for appropriate  "drop zones"  on the  island of

          Vieques.   From  this evidence,  the  district court  could  have

          reasonably concluded  that there  was a sufficient  nexus between

          Flores-Rivera's conspiracy conviction and the importation efforts

          of  the other  members  of the  conspiracy  to attribute  to  him

          between  500  and  1500   kilograms  of  cocaine  for  sentencing

          purposes.   Accordingly, we find no error in the district court's

          determination of Flores-Rivera's BOL.

                    We have  considered the other issues  raised by Flores-

          Rivera and find them to be similarly meritless.

                    Affirmed.
                    ________




















                                         -28-









